           Case 4:21-cr-00055-DC Document 1 Filed 01/28/21 Page 1 of 2
                                                                                             FILED
                                                                                        January 28, 2021
                                                                                      CLERK, U.S. DISTRICT COURT
                                                                                      WESTERN DISTRICT OF TEXAS
                       IN THE UNITED STATES DISTRICT COURT                                    Yvette Lujan
                                                                                   BY: ________________________________
                        FOR THE WESTERN DISTRICT OF TEXAS                                                  DEPUTY
                                  PECOS DIVISION

 UNITED STATES OF AMERICA,                       §   CRIMINAL NO. PE-21-CR-00055
                                                 §
        Plaintiff,                               §   INFORMATION
                                                 §
 v.                                              §   CT 1: 18 U.S.C. § 1001(a)(2)- False Statement
                                                 §   or Representation.
 DEVON PORTILLO,                                 §
                                                 §
        Defendant.                               §
       THE UNITED STATES ATTORNEY CHARGES:

                                         COUNT ONE
                                     (18 U.S.C. § 1001(a)(2))

       Beginning on or about June 17, 2020, and continuing until on or about June 22, 2020, in

the Western District of Texas, Defendant,

                                      DEVON PORTILLO,

in a matter within the jurisdiction of the United State Department of Justice, Federal Bureau of

Investigation, a part of the Executive Branch of the Government, did knowingly and willfully make

a materially false, fictitious and fraudulent statement and representation in that Defendant falsely

stated to Special Agents with the Federal Bureau of Investigation that he had not created a fake

text message that was under investigation and that another individual was responsible for the fake

message when in truth and in fact, Defendant knew that he had created the fake text message, in

violation of Title 18, United States Code, Section 1001(a)(2).
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                          Respectfully submitted,

                          GREGG N. SOFER
                          UNITED STATES ATTORNEY


                    By:   _________________________________
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